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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MARYLAND

 DAVID J. BOSHEA,
      Plaintiff,

          v.                                                            Civil No. ELH-21-309

 COMPASS MARKETING, INC.,
     Defendant.


  MOTION TO RESCIND THE COURT’S APRIL 3 LETTER TO JUDGE GARCIA OF
     THE WILL COUNTY CIRCUIT COURT AND CORRECT THE RECORD

         Defendant Compass Marketing, Inc. (“Compass Marketing”), by and through its

undersigned counsel, respectfully requests that the Court rescind its April 3, 2025 letter to Judge

David Garcia of the Will County Circuit Court (in Illinois) and correct the record. As explained

in greater detail below, the Court made several incorrect assumptions based on false information

provided by the former Plaintiff in this case and the Court’s April 3 letter materially prejudices

Compass Marketing in the probate proceeding pending before Judge Garcia in the Will County

Circuit Court in a case styled, Estate of David John Boshea, Case No. 2025PR000183 (the “Illinois

Probate Case”).

         1.       While the history of what transpired before this Court on April 3, 2025 generally is

not disputed, a short recap is warranted. On that day, Greg Jordan, counsel for the former Plaintiff

in this case,1 wrote to this Court advising that the court in the Illinois Probate Case “indicated it

would enter [an] order [appointing “Ashley Boshea as independent administrator for David




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            Although this Court has granted a motion to substitute parties filed by Ashley Boshea, with Ashley Boshea
claiming to be the Independent Administrator of the Estate of David Boshea (ECF 322), it is undisputed that Ashley
Boshea has not been appointed as the Independent Administrator of the Estate. Thus, as noted in Compass Marketing’s
motion to strike the order granting the motion to substitute (ECF 326), which has not yet been ruled on by the Court,
there is no properly substituted Plaintiff as of this date. As a result, references to Mr. Jordan either will be by name or
as counsel for the former Plaintiff.
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Boshea’s estate”] until Compass [Marketing’s] attorney raised technical objections to block

Ashley Boshea’s appointment.” See Exhibit A (Declaration of Cindy M. Johnson), Exhibit 1

(Email from G. Jordan to K. Warren dated April 3, 2025 at 10:40 am). This is an inaccurate

portrayal of what transpired in the Illinois Probate Case that day. Mr. Jordan’s email continued by

asserting, “As a result, the Court denied the application, gave leave to amend any technical issues,

and set a hearing on June 17, 2025 for the appointment and any objections.” Id.

       2.      Following receipt of the factually inaccurate information in Mr. Jordan’s email, the

Court held a telephone status conference starting at noon that same day. During that status

conference, undersigned counsel was unable to respond substantively to the false assertions made

by Mr. Jordan, as undersigned counsel did not participate in the Illinois Probate Case hearing

earlier that day and did not know the particulars of the arguments or what was transpiring in the

Illinois Probate Case that day. Ultimately, this Court sent a letter to Judge Garcia in the Illinois

Probate Case later that afternoon that asserted, among other things, the Court is “extremely

concerned that the issue presented to you [Judge Garcia] regarding a possible meritorious claim

by Compass [Marketing] against the Boshea estate is bogus, and was raised in an attempt by

Compass [Marketing] to delay or obstruct the Maryland federal case.” See ECF 332. Even though

the Court acknowledged it did “not know the nature or basis of the claim,” the Court further noted

it was “surprise[d] counsel related that Compass [Marketing] asserted an objection to Ms. Boshea’s

appointment, and also indicated that Compass [Marketing] is considering whether to lodge a claim

against Mr. Boshea’s estate.” Id.

       3.      After that April 3 status conference and this Court’s letter, undersigned counsel

learned that there were substantial and significant misrepresentations to the Court regarding what

transpired related to the Illinois Probate Case. The Court’s letter is premised in large part, if not



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entirely, on these misrepresentations, and the Court’s letter has now prejudiced Compass

Marketing’s interests in connection with the Illinois Probate Case. As a result, Compass Marketing

respectfully requests that the Court rescind its letter to Judge Garcia and correct the record by

affirmatively advising Judge Garcia that the Court was not aware of the facts of what transpired at

the probate hearing or that Compass Marketing has standing to assert its interests in the Illinois

Probate Case.

          4.    The details of what transpired in and related to the Illinois Probate Case are outlined

in a detailed Declaration attached hereto as Exhibit A from Cindy M. Johnson, Compass

Marketing’s counsel in the Illinois Probate Case. As Ms. Johnson explains in Paragraph 5 of her

Declaration, she provided the Declaration to (a) correct the misleading and incorrect information

Mr. Jordan included in this April 3 email to this Court and (b) clarify the basis of Compass

Marketing’s claim in the Illinois Probate Case while addressing the inaccuracies in this Court’s

letter to Judge Garcia.

          5.    As an initial matter, Ms. Johnson explained in her Declaration that “Judge Garcia

did not say he would grant the motion [to appoint Ashley Boshea], and he certainly did not indicate

that he ‘would enter the order’ as Mr. Jordan’s email had stated.” See Exhibit A at ¶ 7(a) (emphasis

added).

          6.    Ms. Johnson further explained that “[c]ontrary to Mr. Jordan’s characterization in

his April 3, 2025 email to Judge Hollander’s chambers, the objections I asserted were not merely

‘technical objections;’ rather, they were serious substantive objections, bordering on fraud.” See

Exhibit A at ¶ 7(c) (emphasis added).

          7.    Contrary to Mr. Jordan’s representations to this Court contending that Compass

Marketing simply raised “technical objections,” Ms. Johnson raised several substantive objections



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to the appointment of Ashley Boshea as the independent administrator of the estate of David

Boshea, including, but not limited to:

               a.     “The petition for Letters of Administration signed by Ashley Boshea,
                      certified at the ‘Attorney Certification’ line by Mr. Jordan, states that the
                      approximate value of the estate is $3,000.00, despite the fact that the
                      Petitioner knew that the amount claimed in the [above captioned litigation]
                      used to secure the Emergency Petition hearing was $1.6 million.”

               b.     “The Emergency Petition filed by Mr. Jordan on behalf of Ashely Boshea
                      again stated that ‘David John Boshea has approximately $3,000.00 in assets
                      and limited debts that are less than the amount owed.’” But, in filing the
                      Emergency Petition, Ms. Johnson noted that the Petitioner “omitted
                      mention of the $1.6 million claim that is being made” before this Court,
                      even though that $1.6 million claim is “the specific reason Petition
                      requested the Emergency Motion itself.” (emphasis in original).

               c.     “Ashley Boshea signed under oath the Small Estate Affidavit (notarized by
                      and filed by Mr. Jordan), in which she states that the gross value of the
                      decedent’s entire personal estate . . . does not exceed $100,000.00.”
                      (emphasis in original).

               d.     “Despite the fact that Mr. Jordan himself is a creditor based upon the fees
                      he is to be paid out of any proceeds from [the above captioned litigation],
                      Mr. Jordan and Ashley Boshea did not list him as a creditor in the Small
                      Estate Affidavit.”

               e.     “Despite the fact that Mr. Jordan and Ashely Boshea are aware that Julie
                      Boshea (David Boshea’s ex-wife) would be owed pursuant to a divorce
                      decree 50% of any proceeds that may be awarded [in the above captioned
                      litigation], Mr. Jordan and Ashley Boshea also did not list Julie Boshea as
                      a creditor in the Small Estate Affidavit.

               f.     “On or about March 5, 2025, Mr. Jordan, purporting to represent the Estate
                      of Mr. Boshea sent a letter making a settlement demand of Compass
                      Marketing . . . for over $1 million. At the time of the demand, Mr. Jordan
                      knew there was no probate estate and no Administrator of the estate for Mr.
                      Boshea, as the Probate Case was not even filed until March 21, 2025
                      (sixteen days after the demand was made). In other words, at the time of
                      the demand, Mr. Jordan knew there was no authorized representative
                      appointed by any probate court to represent the estate; yet, he offered to
                      settle an asset that likely would be considered the largest asset of Mr.
                      Boshea’s estate.”




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                  g.       Mr. Jordan filed a suggestion of death in the above captioned case on March
                           17, 2025 that also asked this Court to substitute Ashley Boshea as the
                           Plaintiff in this case, even though Mr. Jordan knew that the Illinois Probate
                           Case had not even been filed yet and, thus, Ashley Boshea could not have
                           been appointed as administrator by any probate court.2

                  h.       “On or about March 19, 2025, Ashley Boshea signed a power of attorney as
                           the ‘Independent Administrator of the Estate of David Boshea’ and
                           appointed her mother . . . ‘to determine the appropriate amount to offer,
                           negotiating the terms of settlement and accept settlement [of the above
                           captioned litigation].’ This power of attorney signed by Ashley Boshea
                           states on its face that it was prepared by Mr. Jordan. Moreover, it presents
                           certain concerns regarding the petition filed in the Probate Case two days
                           later on March 21, 2025, in that Ashely Boshea, the person asking the
                           probate court to appoint her as an independent administrator to protect and
                           administer the estate’s assets, had already assigned to a third-party (who
                           remains an undisclosed creditor of the estate) the estate’s decision-making
                           authority in connection with certain settlement negotiations regarding what
                           appears to be the estate’s largest asset.”

See Exhibit A at ¶¶ 7(d)(i) – (ix).

       8.         Upon hearing these serious and substantive factual matters asserted by Ms.

Johnson, Judge Garcia stated he was going to deny the Emergency Petition and he was going to

schedule an evidentiary hearing to address these concerns. See Exhibit A at ¶ 7(e).

       9.         Judge Garcia then proposed scheduling the hearing during the first week of May,

but Mr. Jordan said he was unavailable then. Judge Garcia then suggested a date during the second

week of May, but Ms. Johnson had 341(a) hearings to conduct as a Chapter 7 bankruptcy trustee.

Judge Garcia suggested three additional dates in May, and Mr. Jordan said he was unavailable on

any of those dates. Ultimately, Judge Garcia offered June 17 as the hearing date and the attorneys

all indicated they were available on that date. See Exhibit A at ¶¶ 7(f) – (i).

       10.        Notably, at the hearing in the Illinois Probate Case on April 3, Mr. Jordan did not

object to Compass Marketing’s standing. See Exhibit A at ¶ 8. Mr. Jordan likely did not assert a



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           Mr. Boshea died intestate.

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standing objection because Mr. Jordan exchanged emails with Ms. Johnson before the April 3

hearing in the Illinois Probate Case and, attached to an email from Ms. Johnson dated April 1,

2025, Ms. Johnson included a copy of the Second Amended Complaint Compass Marketing filed

in the litigation pending in the Circuit Court of Maryland for Anne Arundel County styled,

Compass Marketing, Inc. v. White, et al., Case No. C-02-CV-230000601 (the “Maryland State

Court Litigation”). Moreover, in her email to Mr. Jordan, Ms. Johnson specifically noted where

the allegations and the basis of Compass Marketing’s claims could be found (starting at Paragraph

250). See Exhibit A at ¶¶ 8-11. This email exchange follows a letter Mr. Jordan received last year

from another attorney representing Compass Marketing . See Exhibit A at ¶ 10. Additionally, Mr.

Jordan invoked the above-captioned case as the basis to file the Emergency Petition in the Illinois

Probate Case.

       11.      As Ms. Johnson explained further in her Declaration, she is confident that this Court

“would not have sent [the] April 3, 2025 letter to Judge Garcia, casting aspersions on Compass

Marketing . . . and expressing [the Court’s] belief that Compass Marketing, Inc., was motivated to

take action in the Probate Case to obstruct justice in [the above captioned litigation] if Mr. Jordan

(an officer of the court) had accurately advised Judge Hollander in his email that Judge Garcia did

not indicate he was going to rule in favor of Ashley Boshea, Compass Marketing[‘s] . . . objections

were not merely technical and if he had corrected Judge Hollander’s misimpression during the call

that Compass Marketing . . . had no claim against David Boshea (now his estate) by advising her

that – although he may have disagreed with the claim – Mr. Jordan knew from multiple

communications that Compass Marketing . . . had been insistent with Mr. Jordan that it has specific

claims against David Boshea (now his estate).” See Exhibit A at ¶ 12.




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         12.      Notably, on May 19, 2025, more than one month after the April 3 status conference

and only after this Court issued its April 3 letter to Judge Garcia did Ashley Boshea raise for the

first time in the Illinois Probate Case objections to Compass Marketing’s standing and its basis for

asserting its claim against Mr. Boshea (or, now, his estate). In making these new arguments,

Ashley Boshea even relied on this Court’s April 3 letter and submitted it as her sole exhibit on

May 19, 2025, thus further illustrating the prejudice to Compass Marketing from the April 3 letter.3

         13.      Now that the record has been set straight as detailed by Ms. Johnson, it still does

not address all of Compass Marketing’s concerns. As Ms. Johnson explains, this Court’s April 3

letter “cast doubt on whether Compass Marketing . . . had any [ ] claim [against Mr. Boshea or his

estate] and whether it can be asserted in good faith. The letter further implied that [Ms. Johnson]

must not have conducted sufficient investigation of [Compass Marketing’s] claim and portrayed

certain actions taken by Compass Marketing . . . in [the above captioned litigation] in an

unfavorable light. Taken in its entirety, the letter cast substantial doubt about Compass Marketing,

Inc’s conduct in an Illinois proceeding, including its motivations and the propriety of its conduct,

none of which had been presented to Judge Hollander, other than through Mr. Jordan’s biased and

inaccurate portrayals.” See Exhibit A at ¶ 13 (emphasis in original).

         14.      Additionally, the April 3 letter, when read as a whole, strongly suggests that Ashley

Boshea should be appointed as the independent administrator of David Boshea’s estate, even

though Compass Marketing has asserted numerous, serious and substantive objections, thereby

prejudicing Compass Marketing’s interests in the Illinois Probate Case. Such a suggestion is

especially prejudicial, as Illinois law does not create an absolute right for an individual to be


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           Perhaps in an effort to distance herself from Mr. Jordan’s prior misrepresentations, these latest arguments
relying on this Court’s April 3 letter were made by an attorney other than Mr. Jordan, who does not appear to have
signed the filings submitted in the Illinois Probate Case on May 19, 2025.


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appointed administrator of an estate, particularly when there is no will in which the decedent

named an executor, and appointment of “a disinterested and competent stranger” may be

appropriate.4

         15.      Accordingly, Compass Marketing respectfully requests that this Court rescind its

letter to Judge Garcia in the Illinois Probate Case, explaining that the Court now has a better

understanding of what has transpired in the Illinois Probate Case and its letter was premised on the

unfortunate misimpression of facts and circumstances of what has transpired in matters before and

related to the Illinois Probate Case.



Dated: May 23, 2025                                     Respectfully submitted,


                                                        /s/Stephen B. Stern
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                                                        Compass Marketing, Inc.




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           See, e.g., Est. of Roselli, 70 Ill. App. 3d 116, 122, 388 N.E.2d 87, 92 (1979) (explaining that a court has
large discretion in appointing an administrator when no will exists); In re Abell's Est., 395 Ill. 337, 343-47, 70 N.E.2d
252, 255-57 (1946) (explaining that appointment of administrator does not confer an absolute right to persons within
one of the eight enumerated classes under the statute and a person within one of the preferred classes may be
considered unsuitable to administer by reason of an adverse interest of some kind or hostility to those immediately
interested in estate whether as creditors or distributees, or an interest adverse to estate itself as well as for statutory
grounds of incompetence, and that appointment of a disinterested and competent stranger may be appropriate).


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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 23rd day of May, 2025, the foregoing Motion to Rescind
the Court’s April 3 Letter to Judge Garcia of the Will County Circuit Court and Correct the Record
was served via the CM/ECF system on the following counsel of record:

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                                             /s/Stephen B. Stern
                                             Stephen B. Stern




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